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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                   CIVIL MINUTES - GENERAL
 Case No.       ED CV 16-1598-DMG (SK)                                    Date     April 30, 2019
 Title          Charlie Bells, Jr. v. USP-Victorville


 Present: The Honorable        Dolly M. Gee, U.S. District Judge
                     Kane Tien                                               n/a
                   Deputy Clerk                                     Court Smart / Recorder

            Attorneys Present for Plaintiff:                  Attorneys Present for Defendants:
                    None present                                         None present

 Proceedings:             (IN CHAMBERS) ORDER DENYING MOTION FOR
                          RELIEF FROM JUDGMENT [76]

      Plaintiff has filed a “motion to reconsider judgment of R&R order” [ECF
76], which the Court construes as a motion to alter or amend judgment under
Federal Rule of Civil Procedure 59(e) because it has been filed within 28 days of
the Court’s entry of judgment on April 2, 2019, dismissing Plaintiff’s complaint
without prejudice for lack of administrative exhaustion. [ECF 74, 75.]

      A Rule 59(e) motion to alter or amend the judgment is an “extraordinary
remedy, to be used sparingly in the interests of finality and conservation of
judicial resources.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890
(9th Cir. 2000). It may be granted only if the Court “‘is presented with newly
discovered evidence, committed clear error, or if there is an intervening change in
the controlling law.’” McDowell v. Calderon, 197 F.3d 1253, 1255 (9th Cir.
1999) (en banc) (quoting 389 Orange St. Partners v. Arnold, 179 F.3d 656, 665
(9th Cir. 1999)).

      Plaintiff’s motion presents none of these required extraordinary
circumstances to warrant relief under Rule 59(e). He cites only the ordinary
incidents of prison life and lack of retained counsel as the reasons for
reconsideration. But none of those facts stood in the way of administrative
exhaustion. And because the action was dismissed without prejudice, Plaintiff
may refile his complaint after exhausting his claims (subject to the appropriate
statute of limitations that may apply).

         For all these reasons, Plaintiff’s motion is DENIED.


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